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                                        VERNON GREEN, Plaintiff,
                                                         V.
                                   PHIL MURPHY, et al., Defendants,

                                         Civ. No. 21-11852 (GC)_(DEA}.,_

                                 United States District Court, D. New Jersey.

                                                   July 5, 2022 .


NOT FOR PUBLICATION

OPINION

GEORGETTE CASTNER, District Judge.


I. INTRODUCTION

Plaintiff, Vernon Green ("Plaintiff' or "Green"), is proceeding prose with this civil rights action . Previously,
the Court granted Plaintiffs application to proceed in forma pouperis. (See ECF 9) . Plaintiff wishes to have
his Amended Complaint filed on July 12, 2021 be considered as his operative plead ing. (See ECF 14). This
matter was reassigned to the undersigned on April 11 , 2022. ( See ECF 15).

The Court must screen the allegations of the Amended Complaint pursuant to 28 U.S.C. § 1915(e)(2)(B) to
determine whether they are frivolous or malicious, fail to state a claim upon which relief may be granted , or
whether the allegations seek monetary relief from a defendant who is immune from suit. For the following
reasons , Plaintiffs Amended Complaint is dismissed without prejudice for failure to state a claim upon
which relief may be granted .


II. BACKGROUND

The allegations of the Amended Complaint are construed as true for purposes of this screening Opinion .
Plaintiff names the following Defendants in his Amended Complaint: (1) Lawrence Township Police
Department; (2) Detective Daniel Gladney; and (3) Lt. Lech .

Plaintiff was arrested pursuant to a complaint warrant on charges of burglary and attempted burglary.
Plaintiff states Defendants Gladney and Lech , both from the Lawrence Township Police Department, relied
on false information given to them by the Hamilton Police Department in completing the affidavit of probable
cause supporting the complaint warrant.

Plaintiff asserts his federal constitutional and state law rights have been violated. Most specifically, he
claims his arrest was unlawful and that he was racially profiled . He also complains that his vehicle was
illegal impounded.
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Ill. LEGAL STANDARD

Under the Prison Litigation Reform Act, Pub .L. 104-134, §§ 801-810 , 110 Stat. 1321-66 to 1321-77 (Apr.
26 , 1996) ("PLRA") , district courts must review complaints in those civil actions in wh ich a plaintiff is
proceed ing in forma pauperis. See 28 U.S.C. § 1915(e)(2)(B). The PLRA directs a court to sua sponte
dismiss any claim that is frivolous , malicious , fails to state a claim upon which relief may be granted , or
seeks monetary relief from a defendant who is immune from such relief. See 28 U.S .C. § 19'15(e)(2)(B).

"The legal standard for dismissing a complaint for failure to state a claim pursuant to 28 U.S.C. § 1915(e)(2)
(B)(ii) is the same as that for dism issing a compla int pursuant to Federal Rule of Civil Procedure 12(b )(6) ."
Schreane Sears, 506 F. App'x 120, 122 (3d Cir. 2012) (citing Allah v. Seiverling, 229 F.3d 220, 223 (3d Cir.
2000).). That standard is set forth in Ashcroft v. Igbal, 556 U.S . 662 (2009). and Bell Atlantic Cor{2_. v.
Twombly, 550 U.S . 544 (2007).. To survive the court's screen ing for failure to state a claim , the complaint
must allege ·sufficient factual matter' to show that the claim is facially plausible . See Fowler v. UPMC
Shady_side, 578 F.3d 203 , 210 (3d Cir. 2009). (citation omitted) . "A claim has facial plausibility when the
plaintiff pleads factual content that allows the court to draw the reasonable inference that the defendant is
liable for the misconduct alleged." Fair Wind Sailing, Inc. v. Dem{2_ster, 764 F.3d 303 , 308 n.3 (3d Cir. 2014).
(quoting Lqbal, 556 U.S. at 678). "[A] pleading that offers ' labels or conclusions' or ·a formulaic recitation of
the elements of a cause of action will not do."' Lqbal, 556 U.S. at 678 (quoting Twombly, 550 U.S. at 555).

Prose pleadings , as always , are liberally construed . See Haines v. Kerner, 404 U.S . 519 (1972)..
Nevertheless, "pro se litigants still must allege sufficient facts in the ir complaints to support a claim ." Mala v.
Crown BaY.. Marina, Inc., 704 F.3d 239 , 245 (3d Cir. 201 3). (citation om itted).

In this case, Plaintiff seeks relief under 42 U.S.C . § 1983 and under state law. A plaintiff may have a cause
of action under§ 1983 fo r certa in violations of constitutional rights . Section 1983 provides in relevant part:

       Every person who , under color of any statute, ordinance , regulation , custom , or usage , of any
       State or Territory or the District of Columbia , subjects , or causes to be subjected , any citizen of
       the United States or other person within the jurisdiction thereof to the deprivation of any rights ,
       privileges , or immunities secured by the Constitution and laws , shall be liable to the party
       injured in an action at law, suit in equ ity, or other proper proceeding for redress , except that in
       any action brought against a j ud icial officer for an act or om ission taken in such officer's
       jud icial capacity, injunctive relief shall not be granted unless a declaratory decree was violated
       or declaratory relief was unavailable.

Thus, to state a claim fo r rel ief under § 1983, a plaintiff must allege first, the violation of a right secured by
the Constitution or laws of the United States , and second , that the alleged deprivation was committed or
caused by a person acting under color of state law, See Harvey_ v. Plains Twf2.. Police DeR.'t, 635 F.3d 606 ,
609 (3d Cir. 2011). (citations om itted) ; see also West v. Atkins, 487 U.S. 42 , 48 (1988 )..


IV. DISCUSSION

A. Unlawful Arrest/Unlawful Imprisonment
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Plaintiff first raises an unlawful arrest claim . "To state a cla im for false arrest under the Fourth Amendment,
a plaintiff must establish : (1) that there was an arrest; and (2) that the arrest was made without probable
cause." James v. CitY.. of Wilkes-Barre, 700 F.3d 675 , 680 (3d Cir. 2012). (citing Groman v. Twf2.. of
Mana/a{2_an, 47 F.3d 628 , 634 (3d Cir. 1995).; Dowling v. Citx.of Phi/a., 855 F.2d 136,...H.1._(3d Cir. 1988)),
"' Probable cause to arrest exists when the facts and the circumstances within the arresting officer's
knowledge are sufficient in themselves to warrant a reasonable person to believe that an offense has been
or is being committed by the person to be arrested.'" Merkle v. U1wer Dublin Sch . Dist. , 211 F.3d 782 , 788
.(3d Cir. 2000). (quoting Orsa/ti v. New Jersex. State Police, 71 F.3d 480 , 482 (3d Cir. 1995).); see also
Minateey.__ Phi/a. __ Police __ De{il, __ 502 __F. __ARR]Llli,.2..21L(3d__ C_ir.__ 2012} (citation omitted) . Immunity is generally
extended to "an officer who makes an arrest based on an objectively reasonable belief that there is a valid
warrant.'' Adamsy. __Officer _Eric __ Se/horst,__ 449 __F. _ ARILl. . 1filL2Q2_(3d __Cir.__201_1). (citing Berg v. CntY.: of
Allegheny, 219 F.3d 261, 273 (3d Cir. 2000).). However, "an apparently valid warrant does not render an
officer immune from suit if his reliance on it is unreasonable in light of the relevant circumstances." Id.
(citing Berg, 219 F.3d at 273). Where a plaintiff is arrested pursuant to a facially valid warrant, a court may
only find probable cause lacking if the arresting officer "knowingly and deliberately, or with a reckless
disregard for the truth , made false statements or omissions that create a falsehood in applying for a
warrant" and "such statements or omissions [were] material, or necessary, to the find ing of probable
cause ." Wilson v. Russo, 212 F.3d 781 , 786-87 (3d Cir. 2000)(citing Sherwoodv. Mulvihill, 113 F.3d 396 ,
399 (3d Cir. 1997).); see also Eckmany. __ Lancaster __City, 529_F __ARfU. .1§§,_1.~§j 3d __Cir.__20_1_3)_.

Plaintiff attaches the complaint warrant as an exhibit to his Amended Complaint. The arrest warrant is
facially valid as a judicial officer found there was probable cause to issue the warrant. ( See ECF 8 at 5) .
Nevertheless, Plaintiff states the affidavit of probable cause from the investigating officers relied on false
and fabricated information provided to the investigating officers by the Hamilton Townsh ip Police
Department. (See ECF 8 at 3).

Plaintiffs allegations of falsity with the affidavit of probable cause are conclusory and lack facial plausibility.
Such allegations are insufficient to state a false arrest claim . See Lqbal, 556 U.S. at 678 ; see also Dennisy._
~       , __ No.__09-656, __ 20_1_1__ WL __ 900911_,_fil_:6JM .D_. __ Pa .___Feb .__ 2.,2Q.11). (noting conclusory allegation that
affidavit of probable cause contained false statements insufficient to state a false arrest claim) , report and
recommendation adopted by, 2011 WL 901187 (M.D. Pa. Mar. 14, 2011). Thus, Plaintiffs false arrest claim
is dismissed without prejudice for failure to state a claim .

Plaintiff also states that he was unlawfully restrained because of the purported unlawful arrest. Such an
allegation appears to be Plaintiffs claim for unlawful/false imprisonment claim . A claim for unlawful
imprisonment arises when a person is arrested without probable cause and is subsequently detained
pursuant to that unlawful arrest. See Adams,___449 ___F._Am~•x_at __201 (citing Groman, 47 F.3d at 636) . Thus , a
claim of unlawful imprisonment in this context is derivative of Plaintiffs claim for arrest without probable
cause . See Johnsony. ___ Camden ___CntY,; _Prosecutors' __Office. __ No.__ 11_-3588 ,__2012__ WL __27_3887 ,__at __*4__n_.2 (Q.lL...1.,_
~9_ri__._} J!. .?..QJ. ?.) (citing Groman, 47 F.3d at 636) .

Plaintiffs unlawful imprisonment allegations are insufficient to state a claim for the same reasons as to why
his unlawful arrest allegations fail to state a claim , Thus , Plaintiffs false imprisonment claim is also
dismissed without prejudice for fa ilure to state a claim upon which relief may be granted.


B. Equal Protection
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Next, Plaintiff states he was racially profiled . This Court construes this statement by Plaintiff as an equal
protection claim. "The Equal Protection Clause of the Fourteenth Amendment commands that no State
shall ' deny to any person within its jurisdiction the equal protection of the laws ,' which is essentially a
direction that all persons similarly situated should be treated alike ." City_ of Cleburne v. Cleburne Living Ctr. ,.
473 U.S. 432 , 439 (1985). (citing Ply_ler v. Doe, 457 U.S. 202 , 216 (1982).) . Thus, to state a claim under the
Equal Protection Clause , a plaintiff must allege that: (1) he is a member of a protected class; and (2) he
was treated differently from similarly situated individuals. See id. Where the plaintiff does not claim
membership in a protected class , he must allege arbitrary and intentional discrimination to state an equal
protection claim. See Village of Willowbrook v. Olech, 528 U.S. 562 , 564 (2000).. Specifically, he must state
facts showing that: "(1) the defendant treated him differently from others similarly situated , (2) the
defendant did so intentionally, and (3) there was no rational basis for the difference in treatment." Hill v.
Borough of Kutztown, 455 F.3d 225 , 239 (3d Cir. 2006)..

While Plaintiff alleges racial profil ing , he does not allege with any facial plausibility that he was treated
differently from others similarly situated. See Mitchelly.Jwg_ ... of_Pemberton,... No ...09-81 o,. 20_1_0.. WL_2540466,
m....:§_(D_. N_.J ...June .. 1_7,.2.Q.1Q). ("The Supreme Court's and , accordingly, the Third Circuit's recent clarification
of the standard for reviewing a complaint to determine whether a valid claim has been advanced instructs
that a plaintiff, such as Plaintiff in this case , cannot merely claim that a racial profiling policy or custom
caused a constitutional violation , without a single fact , aside from Plaintiffs particular incident, to support
such a claim ."). Thus , his equal protection claim is dismissed without prejudice for fa ilure to state a claim
upon which relief may be granted .


C. Cruel and Unusual Punishment

Next, Plaintiff alludes to a violation of his right to be free from cruel and unusual punishment. As
Defendants involvement in this case relates to Plaintiffs arrest, this Court presumes Plaintiff is asserting
that he was subjected to excessive force during his arrest.

Excessive force during an arrest is analyzed under the Fourth Amendment. See Abraham v. Raso, 183 F.3d
279 , 288 (3d Cir. 1999).. A plaintiff in an excessive force suit "must show that a seizure occurred , and that it
was unreasonable." Id. The test of Fourth Amendment reasonableness is whether, under the totality of the
circumstances, an officer's "actions are · objectively reasonable' in light of the facts and circumstances
confronting [him] , without regard to [his] underlying intent or motivation ." Graham v. Connor, 490 U.S. 386 ,
397 (1989). (internal citations omitted ); see also KoP-,ec v. Tate, 361 F.3d 772 , 776 (3d Cir. 2004)..

Plaintiff fails to state with any facial plausibility that the officers used excessive force during his arrest.
Indeed , besides alluding to being subject to "cruel and unusual punishment," Plaintiffs Amended Complaint
does not contain any allegations that would potentially give rise to the use of excessive fo rce during his
arrest. Accordingly, this claim is also dismissed without prejudice for failure to state a claim upon which
relief may be granted .


D. lmpoundment of Vehicle

Plaintiff next states that his veh icle was illegally impounded .

       An unauthorized deprivation of property by a state actor, whether intentional or negligent, does
       not constitute a violation of the procedural requ irements of the Due Process Clause of the
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        Fourteenth Amendment if a meaningful post-deprivation remedy for the loss is available.
        Hudson v. Palmer, 468 U.S . 517 , 530-36 (1984).; Parrott v. Tay_lor, 451 U.S. 527 , 543-44
        .(1981 )., overruled in part on other grounds, Daniels v. Williams, 474 U.S. 327 , 328 (1986).. In
        Logan v. Zimmerman Brush Co., 455 U.S. 422 , 435-36 (1982).,. the Supreme Court explained ,
        however, that post-deprivation remedies do not satisfy the Due Process Clause if the
        deprivation of property is accomplished pursuant to established state procedure rather than
        through random , unauthorized action.

Stokes..v. .. Lanigfill,...N.o ....12-1478,.. 201_2_WL.. 4662487,..m....:1..(D.N.J,. .. Oct. ..2,2..Q12,}. New Jersey provides a
post-deprivation remedy to potential plaintiffs for unauthorized deprivation of property by public employees
by suing defendants under the New Jersey Tort Claims Act, See N.J. Stat. Ann . § 59 :1-1 , et seq.; see also
Love .. v....New..Jersey..12§R,'t_of_Corr.,__ No,. .. 1_4-5629 ,...20_1_5.. WL ..22260_1_5.~(D,._N_.J ...May...12,.2.Q1.§.), (noting
New Jersey provides a proper post-deprivation remedy for unauthorized deprivation of property through the
New Jersey Tort Claims Act) .

As New Jersey provides Plaintiff with an adequate post-deprivation remedy, Plaintiff can only bring a due
process claim against the Defendants if the deprivation of his property was due to a state procedure or
policy. However, Plaintiff does not allege that his car's impoundment was accomplished through an
established state procedure. Accordingly, Plaintiff fails to state a federal constitutional due process claim
with respect to the purported improper impoundment of his vehicle . Therefore , to the extent Plaintiff is
seeking to assert a federal claim for the car's impoundment, it is dismissed without prejudice for failure to
state a claim upon which relief may be granted .


E. State Law Claims

Finally, Plaintiff's Amended Complaint is construed as also asserting claims under New Jersey state law.
However, when a court dismisses all claims over which it had original federal question jurisdiction, it has the
discretion to decline to exercise supplemental jurisdiction over the remaining state law claims. See 28
U.S.C . § 1367(c)(3). As Plaintiff's federal claims have been dismissed at this early screening stage for
failure to state a claim upon which relief may be granted , the Court will exercise its discretion to decline
supplemental jurisdiction over any related state law claims.


V. CONCLUSION

For the foregoing reasons, Plaintiff fails to state a federal claim upon which relief may be granted and the
Court decl ines to exercise supplemental jurisdiction over any state law claims. Accordingly, the Amended
Complaint is dismissed without prejudice. Plaintiff shall have an opportunity to file another proposed
amended complaint that corrects the deficiencies of his Amended Complaint as stated in this Opinion
should he elect to do so. An appropriate order will be entered .



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